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                                                                                             2017 Nov-14 AM 09:55
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                      WESTERN DIVISION


FRANK H.EATON,JR.,
on behalf of himself and all others
similarly situated.
       Plaintiff,

                                                     CASE NUMBER:

UNITED REPAIR PLANS,LLC;
MARATHON FINANCIAL,INC.;
AGW COMPANY,LLC; and
ROYAL ADMINISTRATION
SERVICES,INC.;

       Defendants.


                               CLASS ACTION COMPLAINT


       Plaintiff Frank H. Eaton, Jr. ("Eaton" or "Plaintiff') brings this Class Action Complaint

and Demand for Jury Trial("Complaint")against Defendants United Repair Plans, LLC;Marathon

Financial, Inc.; AGW Company, LLC and Royal Administration Services, Inc. to (I) stop their

practice of placing calls using an "automatic telephone dialing system"("AIDS") and/or using

"an artificial or prerecorded voice" to the telephones ofconsumers nationwide without their prior

express consent,(2)stop their practice of placing calls to telephone numbers listed on the National

Do Not Call Registry,(3)enjoin Defendant from continuing to place such calls to consumers,and

(4) obtain redress for all persons injured by its conduct. Plaintiff, for his Complaint, alleges as

follows upon personal knowledge as to himself and his own acts and experiences, and, as to all

other matters, upon information and belief, including investigation conducted by his attorneys.
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                                  NATURE OF THE ACTION

       1.       Defendant United Repair Plans, LLC is an independent agent company that offers

to consumers extended warranties for their automobiles administered by Marathon Financial, Inc.,

AGW Company,LLC and Royal Administration Services, Inc.

       2.       Unfortunately for consumers. Defendants aggressive attempts to sell its products

and services (namely extended automobile warranties) involves an unla\vful telemarketing

campaign through which they make, or have their agents make on their behalf and with their

knowledge, robocalls and unsolicited telemarketing calls to telephone numbers listed on the

National Do Not Call Registry.

       3.       Defendants and/or their agents failed to obtain prior express written consent from

consumers to make such telephone calls and therefore have violated the Telephone Consumer

Protection Act,47 U.S.C. § 227("TCPA").

       4.       The TCPA was enacted to protect consumers from unsolicited and repeated

telephone calls exactly like those alleged in this case. Defendants and/or their agents made these

calls despite the fact that neither Plaintiff nor the other members of the Class (defined below)

provided Defendants with prior express written consent to receive such calls.

       5.       Some or all of the calls made by Defendants were made utilizing an ATDS, as

defined in 47 U.S.C. §227(a)(l), and/or an artificial or prerecorded voice to deliver a message

aimed at Plaintiff.    When Plaintiff would answer the calls there would often be a silence,

sometimes with a click or a beep-tone, before a prerecorded or artificial voice start speaking. This

is a tell-tale indication that the call was placed through an ATDS.
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       6.       The calls by Defendants to Plaintiff were made without his prior express consent.

Defendants knew or should have known that Plaintiff had given no prior express consent for the

calls and/or that any prior consent had been revoked.

       7.       In response to Defendants unlawful conduct, Plaintiff filed the instant lawsuit

seeking injunction requiring Defendants to cease all unsolicited calling activities as well as an

award ofstatutory damages to the members of the Classes as provided under the TCPA.

       8.       State law claims are also brought under the Alabama Telephone Solicitations Act

("ATSA"), Ala. Code 8-19c-l - 12.

                                           PARTIES


       9.       Plaintiff Franklin H. Eaton, Jr., is a natural person and a resident of Northport,

Tuscaloosa County, Alabama.

       10.      Defendant United Repair Plans, LLC ("URP") is a foreign limited liability

company formed and existing under the laws of the State of Missouri with its principal place of

business located to 3216-1 Rue Royale, St. Charles, MO 63301. Defendant conducts business

throughout this District, the State of Alabama, and the United States.

       11.      Defendant Marathon Financial, Inc.("Marathon") is a company incorporated and

existing under the laws of the State of Florida with its principal place of business located to 777

Yamato Ave, Suite 30, Boca Raton, FL 33431.

        12.     Defendant AGW Company, LLC("AGW")is a Florida limited liability company

with its principal place of business located to 2229 Joan Avenue,Panama City Beach, FL 32408.
        13.     Defendant Royal Administration Services, Inc. ("Royal") is a company

incorporated and existing under the laws ofthe State ofFlorida with its principal place of business
located at 51 Mill Street, Bid. F, Hanover, MA 02339.
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                                  JURISDICTION AND VENUE

        14.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as the action

arises under the TCPA, which is a federal statute. This Court has personal jurisdiction over

Defendants because they conduct a significant amount ofbusiness transactions within this District,

and the wrongful conduct giving rise to this case occurred in and/or was directed to this District.

        15.      This court has supplemental jurisdiction imder 28 U.S.C. § 1367(b)over Plaintiffs

state law claims because the Complaint also makes claims under federal statutes which confer

original jurisdiction.

        16.      Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendants

conduct a significant amoimt of business transactions with this District and because the wrongful

conduct giving rise to this case occurred in and/or emanated from this District. Venue is also proper

because Plaintiff resides in this District.

                            COMMON FACTUAL ALLEGATIONS

        17.      Defendant URP is an agent company for Defendants Marathon, AGW and Royal

who offer consumers extended warranties for their automobiles.

        18.      Unfortunately for consumers. Defendants on their own and/or through their agents,

have turned to a tried and true, albeit unlawful, method of reaching new customers: unsolicited

telemarketing.

        19.      Specifically, Defendants and/or their agents place thousands of outbound
telemarketing calls each day to consumers in Alabama and nationwide. Many of these calls are

placed to numbers that are listed on the National Do Not Call Registry.

        20.      These calls are made for the express purpose of soliciting the purchase of services

or products from or though Defendants,including extended automobile warranties.
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       21.       Some or all of the telemarketing calls by Defendants using an ATDS have been

made intentionally, without prior express written consent, and in plain violation ofthe TCPA.

       22.       Telemarketers who wish to avoid calling numbers listed on the National Do Not

Call Registry can do so easily and inexpensively by "scrubbing" their call lists against the National

Do Not Call Registry database. The scrubbing process identifies those numbers on the National

Do Not Call Registry, allowing telemarketers to remove those numbers and ensure that no calls

are placed to consumers who opt-out oftelemarketing calls.

       23.       To avoid violating the TCPA by calling registered numbers, telemarketers must

scrub their call lists against the Registry at least once every thirty-one days. See 16 C.F.R. §

310.4(b)(3)(iv).

       24.       Upon investigation and belief. Defendant failed to apply this readily available

means, or any other method, to effectively avoid calls to numbers listed on the National Do Not

Call Registry.

                             FACTS SPECIFIC TO PLAINTIFF EATON

       25.       Neither Plaintiff nor the other members of the proposed Classes ever provided

Defendants and/or their agents with express written consent to receive the telephone calls
described in this Compliant. Defendants do not have any record of express written consent to

place autodialed and/or prerecorded calls to Plaintiff or the members of the proposed Class.
       26.       On January 12, 2009, Plaintiff Eaton registered his cellular telephone number
XXX-XXX-4730 with the National Do Not Call Registry for the express purpose of avoiding

unwanted telemarketing calls.
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       27.      On August 16, 2017, after more than 30 days of Plaintiff having registered his

phone number on the Do Not Call Registry, he received a call on said number from URP,

ostensibly using phone number 256-346-0481.

       28.      On information and belief, the telephone number "256-346-0481" was "spoofed"

and not the actual number the call was made from.

       29.      When he answered said call. Plaintiff was met with a prerecorded message that

explained that the call's purpose was to sell an extended warranty for Plaintiff's vehicle. The

prerecorded voice explained that it was a follow-up to the post card Plaintiff should have received

through the U.S. Mail. They identified themselves as URP Vehicle Division. Plaintiff had not

been looking for an extended warranty, nor was he interested in purchasing one,and Plaintiff hung

up the phone.

       30.      Upon information and belief. Plaintiff has received approximately ten calls from

URP over the course ofthe previous four years.

       31.      At no time did Plaintiff consent in writing or orally to receive calls to 4730 from

Defendants.


       32.      Plaintiff had no existing business relationship with Defendants at the time of the

aforementioned calls and had not entered into any business transactions with Defendants or their

agents within the previous eighteen months.

       33.      As a result of Defendants intrusive calls. Plaintiff was inconvenienced, incurred

charges for cellular telephone service, suffered harm and an invasion of his privacy.
        34.     Defendants are and were aware the above-described telephone calls were being

made either by it directly, or made on their behalf, and that the telephone calls were being made
to consumers who had not consented to receive them.
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       35.     As a result of Defendants' conduct in violation ofthe TCPA,Plaintiff is entitled to

an award of minimum statutory damages of$500,00 per violation ofthe TCPA.

       36.     Because each of the unlawful calls were made intentionally, willfully and/or

knowingly by Defendants, an award of statutory damages of should be increased to as much as

$1,500.00 per violation ofthe TCPA.

                                    CLASS ALLEGATIONS

       37.     Class Definitions: Plaintiff brings this action pursuant to Federal Rule of Civil

Procedure 23(b)(2) and Rule 23(b)(3) on behalf of himself and two Classes of similarly situated

individuals, defined as follows:

              Do Not Call Class: All individuals in the United States who during
              the four years prior to the filing ofthe initial complaint in this action:
              (1) received more than one telephone call made by or on behalf of
              Defendants within a 12-month period; (2) promoting Defendants
              products or services; (3) at a telephone number that had been
               registered with the National Do Not Call Registry for at least 30 days
               at the time of each call;(4) where such individual had not entered
               into any purchase or transaction with Defendant within the 18
               months immediately preceding such calls; and (5) where neither
               Defendants nor their agents had any current record of express
               consent to place such calls at the times such calls were made.

               Robocall Class: All individuals in the United States who during the
               four years prior to the filing of the initial compliant in this action
               who (1) received a telephone call made by or on behalf of
               Defendants; (2) promoting Defendants products or services; (3)
               where such call featured an artificial or prerecorded voice; and (4)
               where neither Defendants nor its agents had any current record or
               prior express written consent to place such call at the times such call
               was made.

               Alabama Telephone Solicitations Act
               All Alabama Citizens who during the two years prior to the filing of
               the initial compliant in this action who(1)received a telephone call
               made by or on behalf of Defendants; (2) promoting Defendants
               products or services; (3) where Defendants utilized a method to
               block or otherwise circumvent the use of a caller identification
               service of the person being called; and/or (4) where neither
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               Defendants nor their agents had any current record of prior express
               written consent to place such call at the times such call was made;
               and/or (5) where Defendants called a telephone number that had
               been registered with the National Do Not Call Registry for at least
               30 days at the time ofeach call.

       38.     The following people are excluded from the Classes:(1) any Judge or Magistrate

presiding over this action and members of their families;(2) Defendant, its subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or its parents have a controlling

interest and its current or former employees, officers, and directors; (3) persons who properly

execute and file a timely request for exclusion from the Classes; (4) the legal representatives,

successors, or assigns of any such excluded persons; and (5) PlaintifTs counsel and Defendant's

counsel.


       39.     Numerosity: The exact sizes of the Classes are unknown and not available to

Plaintiff at this time, but it is clear that individual joinder is impracticable. On information and

belief. Defendant has made telephone calls to thousands of consumers who fall into the Classes.

Members of the Classes can be identified through Defendant's records.

       40.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes
include, but are not necessarily limited to the following:

               The Do Not Call Class;


               a)      Whether Defendants conduct violated the TCPA and/or the ATSA;

               b)      Whether Defendants and/or their agents made more than one telephone call
               within a 12-month period to consumers whose telephone numbers were registered
               with the National Do Not Call Registry (for at least thirty days, at the time ofeach


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       call);

       c)       Whether Defendants and/or their agents systematically made such

       telephone calls to consumers who did not previously provide Defendants or their

       agents with prior written express consent to receive such calls; and

       d)       Whether Plaintiff and members of the Do Not Call Class are entitled to

       treble damages based on the willfulness of Defendants' conduct.

       Robocall Class;


       a)       Whether Defendants conduct violated the TCPA;

       b)       Whether Defendants and/or their agents systematically made telephone

       calls to consumers who did not previously provide Defendants or their agents with

       prior express consent to receive such telephone calls;

       c)       Whether Defendants telephone calls featured an artificial or prerecorded

       voice; and

       d)       Whether Plaintiff and the members of the Robocall Class are entitled to

       treble damages based on the willfulness of Defendants conduct.

       Alabama Telephone Solicitations Act Class;

       a)        Whether Defendants conduct violated the ATSA;

       b)       Whether Defendants and/or their agents utilized a method to block or

otherwise circumvent the use of a caller identification service of the person being called;

       c)       Whether Defendants and/or their agents systematically made telephone
calls to consumers who did not previously provide Defendants or their agents with prior

express consent to receive such telephone calls; and

       d)       Whether Defendants called an Alabama Citizen's telephone number that
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         had been registered with the National Do Not Call Registry for at least 30 days at the time
        of each call.

        41.     Typicality: Plaintiffs claims are typical of the claims of other members of the
Classes, in that Plaintiff and the members of the Classes sustained damages arising out of
Defendants uniform wrongful conduct toward Plaintiff and each of the other members of the
Classes.

        42.     Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interest ofthe Classes, and has retained counsel competent and experienced in complex
class actions. Plaintiff has no interest antagonistic to those of the Classes, and Defendants have
no defenses unique to Plaintiff.

        43.     Policies Generally Applicable to the Classes: This class action is appropriate for
certification because the Defendants have acted or refused to act on grounds generally applicable
to the Classes as a whole, thereby requiring the Court's imposition of uniform relief to ensure
compatible standards of conduct toward the members ofthe Classes, and making final injunctive
relief appropriate with respect to the Classes as a whole. Defendants practices challenged herein
apply to and affect the members of the Classes uniformly, and Plaintiffs challenge of those
practices hinges on Defendants conduct with respect to the Classes as a whole, not on facts or law

applicable only to Plaintiff.

       44.     Superiority: This case is also appropriate for class certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of
this controversy and because joinder of all parties is impracticable. The damages suffered by the
individual members ofthe Classes will likely be relatively small, especially given the burden and

expense of individual prosecution of the complex litigation necessitated by Defendants actions.


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Thus, it would be virtually impossible for the individual members ofthe Classes to obtain effective

relieffrom Defendants misconduct. Even if members ofthe Classes could sustain such individual

litigation, it would still not be preferable to a class action, because individual litigation would

increase the delay and expense to all parties due to the complex legal and factual controversies

presented in this Complaint. By contrast, a class action presents far fewer management difficulties

and provides the benefits ofsingle adjudication,economy ofscale, and comprehensive supervision

by a single court. Economies of time, effort, and expense will be fostered, and uniformity of

decisions ensured.


                                         COUNT ONE
                              Violation of47 U.S.C.§ 227,et seq.
                      (On Behalf of Plaintiff and the Do Not Call Class)

       45.     Plaintiff incorporates the foregoing allegations as iffully set forth herein.

       46.     47 U.S.C. § 227(c)(5) provides that any "person who has received more than one

telephone call within any 12-month period by or on behalf of the same entity in violation of the

regulations prescribed under this subsection may" bring a private action based on a violation of

said regulations, which were promulgated to protect telephone subscribers' privacy rights to avoid

receiving telephone solicitations to which they object.

       47.     The TCPA's implementing regulation—47 C.F.R. § 64.1200(c)—provides that

"[n]o person or entity shall initiate any telephone solicitation" to "[a] residential telephone
subscriber who has registered his or his telephone number on the national do-not-call registry of

persons who do not wish to receive telephone solicitations that is maintained by the Federal
Government." See 47 C.F.R. § 64.1200(c).

        48.    47 C.F.R. § 64.1200(e) provides that 47 C.F.R. §§ 64.1200(c) and (d) "are

 applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

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telephone numbers to the extent described in the Commission's Report and Order, CG Docket No.
02-278, FCC 03-153,'Rules and Regulations Implementing the Telephone Consumer Protection
Act of 1991,"' and the Commission's Report and Order, in tum, provides as follows:

              The Commission's rules provide that companies making telephone
              solicitations to residential telephone subscribers must comply with
              time of day restrictions and must institute procedures for
              maintaining do-not-call lists. For the reasons described above, we
              conclude that these rules apply to calls made to wireless telephone
              numbers. We believe that wireless subscribers should be afforded
              the same protections as wireline subscribers.'

       49.    47 C.F.R.§ 64.1200(d)further provides that"[n]o person or entity shall initiate any

call for telemarketing purposes to a residential telephone subscriber imless such person or entity

has instituted procedures for maintaining a list ofpersons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:

              (1)Written policy. Persons or entities making calls for telemarketing
              purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.
              (2) Training of personnel engaged in telemarketing. Personnel
              engaged in any aspect of telemarketing must be informed and
               trained in the existence and use ofthe do-not-call list.
              (3) Recording, disclosure of do-not-call requests. If a person or
               entity making a call for telemarketing purposes(or on whose behalf
               such a call is made)receives a request from a residential telephone
               subscriber not to receive calls from that person or entity, the person
               or entity must record the request and place the subscriber's name,if
               provided, and telephone number on the do-not-call list at the time
               the request is made. Persons or entities making calls for
               telemarketing purposes (or on whose behalf such calls are made)
               must honor a residential subscriber's do-not-call request within a
               reasonable time from the date such request is made.This period may
               not exceed thirty days from the date ofsuch request
               (4) Identification of sellers and telemarketers. A person or entity
               making a call for telemarketing purposes must provide the called
               party with the name ofthe individual caller, the name of the person

'68 Fed. Reg.44143,44166(July 25,2003).
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              or entity on whose behalf the call is being made, and a telephone
              number or address at which the person or entity may be contacted.
              The telephone number provided may not be a 900 number or any
              other number for which charges exceed local or long distance
              transmission charges.
              (5)Affiliated persons or entities. In the absence ofa specific request
              by the subscriber to the contrary, a residential subscriber's do-not-
              call request shall apply to the particular business entity making the
              call (or on whose behalf a call is made), and will not apply to
              affiliated entities unless the consumer reasonably would expect
              them to be included given the identification of the caller and the
              product being advertised.
              (6)Maintenance ofdo-not-call lists. A person or entity making calls
              for telemarketing purposes must maintain a record of a consumer's
              request not to receive further telemarketing calls. A do-not-call
              request must be honored for 5 years from the time the request is
              made."


       50.    Defendants and/or their agents intentionally made more than one unsolicited

telemarketing call to Plaintiff and members of the Do Not Call Class within a 12-month period

without having prior express written consent to place such calls. Each such call was directed to a

telephone number that had been registered with the National Do Not Call Registry for at least 30

days. Plaintiff and members of the Do Not Call Class did not provide consent to receive such

telemarketing calls fi-om Defendants or their agents and/or neither Defendants nor their agents

have any record ofconsent to place such telemarketing calls to Plaintiff or the members ofthe Do

Not Call Class.


       51.     Defendants violated 47 C.F.R. §§ 64.1200(d)and(e)by causing calls to be initiated

for telemarketing purposes to residential and wireless telephone subscribers, such as Plaintiff and

the Do Not Call Class, without instituting procedures that comply with the regulatory minimum

standards for maintaining a list of persons who request not to receive telemarketing calls.

       52.     Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiff and the members of

the Do Not Call Class received more than one telephone call in a 12-month period made by or on


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behalf of Defendants in violation of 47 C.F.R. § 64.1200, as described above. As a result of

Defendants conduct as alleged herein, Plaintiffand the members ofthe Do Not Call Class suffered

actual damages and, under section 47 U.S.C. § 227(c), are each entitled to, inter alia, receive at

least $500 in damages for each such violation of47 C.F.R. § 64.1200.

       53.     To the extent Defendants misconduct is determined to be willful and knowing,the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by Plaintiff and the members ofthe Do Not Call Class.

                                          COUNT TWO
                            Violation of 47 U.S.C.§ 227,etseq.
                       (On Behalf of Plaintiff and the Rohocall Class)

       54.     Plaintiff incorporates the relevant foregoing allegations as iffully set forth herein.

       55.     Defendants and/or their agents made unsolicited and unwanted telemarketing calls

to telephone numbers belonging to Plaintiffand the other members ofthe Robocall Class—without
their prior express consent—in an effort to sell products and/or services.

       56.     These calls featured artificial and/or prerecorded voices.

       57.     By having unsolicited telephone calls made to Plaintiffs and the Robocall Class
members' telephones without prior express written consent, and by using artificial and/or
prerecorded voices when placing such calls. Defendants violated 47 U.S.C. § 227(b)(1)(B).
       58.     As a result of Defendants unlawful conduct. Plaintiff and the members of the

Robocall Class suffered actual damages and, under 47 U.S.C. § 227(b)(3)(B), are each entitled to,

inter alia, a minimum of$500 in damages for each such violation ofthe TCPA.
        59.    To the extent Defendants misconduct is determined to be willful and knovring, the

Court should, pursuant to 47 U.S.C. § 227(b)(3), treble the amount of statutory damages
recoverable by Plaintiff and the other members of the Robocall Class.

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                                         COUNT THREE
                     ALABAMA TELEPHONE SOLICITATIONS ACT

       60.      Plaintiff incorporates the relevant foregoing allegations as if fully set forth herein.

       61.     This count is a stated under the Alabama Telephone Solicitations Act("ATSA"),

Ala.Code8-19C-l-12.


       62.     By registering with the Do Not Call registry as alleged above, plaintiff has given

notice of his objection to receiving telephone solicitations within the meaning of Ala.

Code 8-19C-2(a).

       63.     Defendants have violated the ATSA by making telephone solicitation calls to

plaintiffs telephone line after plaintiffs notice of his objection to receiving such calls. This is a

violation of Section 18-19C-2(a).

       64.     Defendants have also violated the ATSA by knowingly utilizing a method to block

or otherwise circumvent the use ofcaller identification service thereby obscuring the source ofthe

solicitation calls made to plaintiff. This is a violation of Ala. Code § 8-19C-5(b).

       65.     Plaintiffhas received multiple telephone solicitation calls within a 12-month period

by or on behalf ofthe defendants in violation ofSection 8-19C-2(a) and/or Section 8-19C-5(b).
       66.     Plaintiff has suffered actual damages as a result of the defendant's violation of the

ATSA,as setout above.

       67.     The defendants knowingly made the violating calls to the plaintiffs telephone line.

The defendants knew or should have known that the plaintiff has provided notice of his objection

to receiving such calls at the number called. Therefore, the violation of the ATSA were known
violations and the plaintiff is entitled to recovery for actual damages and/or statutory damages as

provided in Section 8-19C-7.




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                                    PRAYER FOR RELIEF

        WHEREFORE,Plaintiff Frank H. Eaton, Jr. individually and on behalf of the Classes,
 prays for the following relief:

        1.      An order certifying the Classes as defined above, appointing Plaintiff Frank H.
Eaton, Jr. as the Class Representative for the Classes, and appointing his counsel as Class Counsel
for the Classes;

        2.      An award ofup to two thousand dollars($2,000.00)for each violation ofthe ATSA;
        3.      An award of actual monetary loss from such violations or the sum of five hundred
dollars($500.00)for each violation ofthe TCPA,whichever is greater all to be paid into a common
fund for the benefit of the Plaintiff and the other Class Members;

       4.      Enhanced statutory damages for willful and/or knowing violations of up to
$1,500.00 for each violation of the TCPA;

       5.      An order declaring that Defendants' actions, as set out above, violate the TCPA;
       6.      A declaratory judgment that Defendants' telephone calling equipment constitutes
an automatic telephone dialing system under the TCPA; or

       7.      A declaratory judgment that Defendants' used an artificial or prerecorded voice;
       8.      An order requiring Defendants to disgorge any ill-gotten funds acquired as a result
of its unlawful telephone calling practices;

       9.      An order requiring Defendants to identify any third-party involved in the autodialed
and/or prerecorded calling as set out above, as well as the terms of any contract or compensation
arrangement it has with such third parties;




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        10.     An injunction requiring Defendants to cease all unsolicited autodialed and/or
prerecorded calling activities, and otherwise protecting the interests of the Classes;
        11. An injunction prohibiting Defendants from using, or contracting the use of, an
automatic telephone dialing system without obtaining, and maintaining records of, call recipient's
prior express written consent to receive calls made with such equipment;
        12. An injunction prohibiting Defendants from contracting with any third-party for
marketing purposes until it establishes and implements policies and procedures for ensuring the
third-party's compliance with the TCPA;

        13.    An injunction prohibiting Defendants from conducting any future telemarketing
activities until it has established an internal Do Not Call List as required by the TCPA;
       14.     An injunction requiring Defendant to cease all unsolicited calling activities, and
otherwise protecting the interests of the Classes;

       15.     An award ofreasonable attorneys' fees and costs to be paid out of the common fund
prayed for above; and

       16.     Such other and further relief that the Court deems reasonable and just.

                                                     Respectfi^ subipj

                                                          P/Und^TO
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                                                         lieth J.
                                                               J. Riemer
                                                                  Ri
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                                  DEMAND FOR JURY TRIAL

         The Plaintiff hereby demands a trial by struck jury on all claims so triable before the

Court.




Please serve Defendants as follows:

United Repair Plans, LLC
Mueller Prost PC
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